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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff, Case No.: —2.1-mj-00549-SH
VS. Date: 8/13/2021
Court Time: A Spm Cn! 5D a"
Laura Kay Sawyer ,
MINUTE SHEET — DETENTION AND/OR
Defendant(s). PRELIMINARY HEARING
Jodi F. Jayne, U.S. Magistrate Judge S. Cope, Deputy Clerk Magistrate Courtroom 1
Interpreter: C) Sworn
Counsel for Plaintiff; David Nasar
Counsel for Defendant: Stephen G Layman Appt.
ome called for: Detention Hearing, & Preliminary Hearing;
Defendant appears in custody with counsel; Video
Defendant waives: C] Preliminary Hearing Detention Hearing, waiver(s) executed;

CL] Government withdraws their Motion for Detention #

CL] Defense counsel stipulates there is probable cause;

C] Proffer(s) made;

C]) Witness(es) sworn and testimony given;

() Arguments heard;

LJ Court Finds Probable Cause; L.
Motion for Detention (Dkt# 6 ): UO granted, UO denied, moot;

CL] Court finds there are conditions which defendant can be released; Defendant ordered released;

fo set at Bond and Conditions of Release executed;
Defendant detained and remanded to custody of U.S. Marshal, LJ Detention Order to be entered;

(1) Exhibit(s) returned to counsel.

Additional Minutes:
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Government’s Witnesses: Defendant’s Witnesses:

Government’s Exhibits: Defendant’s Exhibits:

Detention Hearing and/or Preliminary Hearing (8/2021)
